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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
_____________________________________

UNITED STATES OF AMERICA
                  Plaintiff,                    Case No. 1:20-cr-00183-RJJ

                                                Hon. Robert J. Jonker
                                                Chief United States District Judge
v.
                                                Hon. Sally J. Berens
                                                United States Magistrate Judge



BARRY CROFT,
                        Defendant.
________________________________________________________________________/

          RESPONSE TO BUZZFEED’S 1 MOTION TO COMPEL ACCESS

         For the following reasons, Barry Croft through his counsel, Joshua

Blanchard, opposes the relief sought by BuzzFeed and the Detroit News.

                               STATEMENT OF FACTS

         Mr. Croft and five co-defendants were indicted on allegations relating to an

alleged plot to kidnap Governor Whitmer. Superseding Indictment, ECF No. 172,

PageID.961-976. The discovery produced to date discloses the involvement of at

least six paid informants, two undercover agents, and scores of FBI agents. These

paid informants and agents produced more than 1,000 hours of audio recordings

and over 100,000 pages of documentary discovery.




1For simplicity and because the Detroit News / Scripps Media, Inc. merely joined in
BuzzFeed’s motion, counsel refers to the movants jointly as “BuzzFeed”


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          In December 2020, the Court conducted Mr. Croft’s detention hearing in a

public courtroom and additionally made the proceedings available for listening via a

live dial-in telephone number which broadcast the court proceedings. At the

detention hearing, the government introduced less than 5 minutes of audio out of

the 1,000+ hours they possessed. The Court entered a protective order that

prohibits counsel from releasing excerpts of the audio which could contextualize the

admitted exhibits. Protective Order, ECF No. 176, PageID.987-988.

          Five months after the detention hearing which they didn’t attend and four

months before trial2, BuzzFeed is seeking copies of the detention hearing exhibits to

publish them. The Government has stated that they intend to admit the detention

hearing exhibits against Mr. Croft at trial. Gov’t Response, ECF No. 204,

PageID.1092.

                                LAW AND ARGUMENT

     I.      BUZZFEED’S RIGHTS WERE SUFFICIENTLY PROTECTED
             WHEN THE COURT HELD AN OPEN HEARING WHICH
             BUZZFEED DECIDED NOT TO ATTEND.

          BuzzFeed reporters could have attended or listened by telephone to the

January 13, 2021 detention hearing. If they had covered the hearing, they could

have reported on everything that happened at the hearing including the content of

the audio excerpts that were played. They do not allege that they even attempted to



2      BuzzFeed wrongly asserts that trial is more than a year away. See Mot.
Compel, ECF No. 193-1, PageID.1021 (“ As to the timing of the request, a trial in
this case is most assuredly more than year away . . . .”). To the contrary, it is clear
that trial starts on October 12, 2021 at 8:30am. EOJ Order, ECF No. 161,
PageID.862.


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attend the hearing in person or via telephone, but they now ask the Court to compel

production of the audio and video recordings played at the hearing.

      BuzzFeed’s main argument is that it needs copies of the exhibits to police the

decision of the Court to detain Mr. Croft. See Mot. Compel, ECF No. 193-1,

PageID.1020 (claiming that “[w]ithout access to that evidence, the public cannot

assess whether the Court properly detained Mr. Croft pending trial.”). However,

Buzzfeed fails to develop an argument on why having the recorded words in Mr.

Croft’s own voice is necessary and why being able to listen to and report the words

that were played in open court is insufficient for their purpose of policing the Court.

      When faced with motions to compel access to records, the duty of the trial

court is “to exercise an informed discretion as to release of the tapes, with a

sensitive appreciation of the circumstances that led to their production.” United

States v. Beckham, 789 F.2d 401, 409 (6th Cir. 1986), quoting Nixon v. Warner

Commc'ns, Inc., 435 U.S. 589, 603, 98 S. Ct. 1306, 1315, 55 L. Ed. 2d 570 (1978).

      In United States v. Beckham, the Sixth Circuit upheld the district court’s

decision to deny access to copy video and audio recordings admitted at trial because

“[w]hen weighing their common-law right to copy exhibits against the defendants'

constitutional right to a fair trial and the court's desire for orderly proceedings, the

district court . . . determined that the potential for public benefit was less than the

potential harm to the fair and orderly administration of criminal justice.” Beckham,

789 F.2d at 411.




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      Noting that there was a “scarcity of authority on the subject” the Beckham

court adopted the five factors from Nixon to be considered by a court in determining

whether to permit access under the common law right to records: (1) the court's

supervisory powers, (2) the benefit to the public from the incremental gain in

knowledge that would result from seeing the tape, (3) the degree of danger to the

defendants or persons on the tapes, (4) the possibility of improper motives on the

part of the media, such as promoting public scandal or gratifying private spite, and

(5) any special circumstances in the particular case. Id. at 414.

      a. The Court’s supervisory powers over its own documents.

      The first Beckham factor is the Court’s supervisory authority over its own

documents. Beckham, 789 F.2d at 414. Trial courts have the power to seal records

when the interests of privacy outweigh the public's right to of access. In re The

Knoxville News–Sentinel Co., Inc., 723 F.2d 470 (6th Cir.1983) (citing Brown &

Williamson Tobacco Corp., supra, 710 F.2d at 1179).

      Because of the high-profile nature of the proceeding and significant media

attention it has received, releasing the exhibits before their admission at trial poses

a risk of tainting the jury pool. Accordingly, the Court should exercise its

supervisory authority to delay access to the records.

      b. The benefit to the public from the incremental gain in knowledge
         that would result from access to the materials in question.

      This Court went to greater than usual lengths to ensure that the detention

hearing was accessible to the public (both locally and around the world) by keeping

the courtroom open to the public and hosting a teleconference which permitted



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members of the media to listen to the hearing from anywhere. Notice of Hearing,

ECF No. 125, PageID.690; Non-document Notice, January 13, 2021.

        Because the hearing was open to the public to see and hear the exhibits, the

media is, or could have been, in a position to report the exact words and to describe

the pictures and videos displayed. The only thing the media is unable to do is

reproduce those words in the Mr. Croft’s own voice or display videos depicting him.

        In United States v. Dimora, the district court delayed release of videos

depicting the defendant pending trial noting that because “these exhibits are videos

increases the probability that they will be widely disseminated and thus taint the

jury pool.” 862 F. Supp. 2d 697, 711 (N.D. Ohio 2012); see also United States v.

Dimora, No. 1:10CR387, 2015 WL 6444886, at *2 (N.D. Ohio Oct. 23, 2015)

(releasing the same records after the criminal proceedings had concluded).

        Because the public already had access to see and hear the evidence, the

“incremental gain in knowledge that would result from” having access to Mr. Croft’s

voice is negligible and the exhibits should not be released until the trial is complete.

        c. The degree of danger to petitioner or other persons mentioned in
           the materials.

        Mr. Croft has an interest in impaneling a fair and impartial jury. Even as of

June 1, 2021, one media outlet is spinning the instant motion practice as “Feds:

Whitmer kidnap suspect doesn’t want public to hear god gave him ok” 3. In reality,




3     Tresa Baldas, Feds: Whitmer kidnap suspect doesn't want public to hear God
gave him OK, DET. FREE PRESS, Jun. 1, 2021,


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Mr. Croft wants the public to hear the evidence in proper context at a trial, but not

in some carnival-barker atmosphere where 30-second clips are played out of context

and with the spin of an editor who is trying to drive clicks on social media

platforms.

      This case has received extensive media attention. The alleged victim is one of

the most high-profile citizens in the state. Selecting a fair and impartial jury is

going to be difficult enough without trial exhibits being published to the potential

jury pool in advance of jury selection. There is a risk of danger to Mr. Croft’s right to

a fair trial by releasing these clips so that they can be circulated worldwide before

jury selection begins.

      d. The possibility of improper motives on the part of the media such
         as promoting public scandal or gratifying private spite.

      While there is no record evidence of improper motive on the part of the

movants, once released and published, the Court has no control over who uses the

audio recordings or how they are used.

      e. Any special circumstances in the case.

      This case is arguably the most high-profile case pending in the District and

possibly second nationally only to the January 6 th Capitol rioters. Selecting a fair

and unbiased jury will be a significant challenge. The government recognized the

problems in pretrial publicity when it asked undersigned counsel to consent to a

protective order limiting disclosure of the discovery items.


https://www.freep.com/story/news/local/michigan/2021/06/01/michigan-whitmer-
kidnap-suspect-barry-croft-jr/5290464001/



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      Adding fuel to the fire by allowing BuzzFeed to go beyond reporting the facts

presented at the detention hearing and use Mr. Croft’s voice and likeness will

negatively impact the trial proceedings. Such release will increase the likelihood of

needing to sequester the jury during the month-long trial, a task which seems

logistically difficult while emerging from a global pandemic.

                                   CONCLUSION

      Because of the high-profile nature of this case, the potential for release of the

exhibits to taint the jury pool, and because there is no “incremental gain in

knowledge that would result from hearing the tapes themselves” this Court should

deny or delay disclosure of the recordings until after a jury has reached a verdict.

Beckham, 789 F.2d at 409.

      WHEREFORE, the defendant, Mr. Barry Croft, requests this Court deny

movant’s request to access the exhibits until the trial in this matter is complete.


                                        Respectfully Submitted,
                                        BLANCHARD LAW


Dated: June 3, 2021                     /s/ Joshua A. Blanchard
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             CERTIFICATE OF COMPLIANCE WITH LCrR 47.2(b)(ii)

         I certify that the foregoing document contains 1,622 countable words as

defined by LCrR 47.2(b)(i) and as calculated by Microsoft Word for Mac version

16.50.




Dated: June 3, 2021                      /s/ Joshua A. Blanchard
                                         Joshua Blanchard




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